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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
SAM BENCOMO

Plaintiff,
Case No.

v.
MARK OWEN WOODS,
MILE HIGH LOGISTICS, INC.
AND FIRST COAST LOGISTICS, INC.
Defendants,
NOTICE OF REMOVAL

Defendants, Mark Owen Woods, Mile High Logistics, Inc. and First Coast Logistics, Inc.,
by and through their attorneys of record, HOLT MYNATT MARTINEZ P.C. (Bradley A.
Springer), and pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, provides notice of removal of the
civil action styled Sam Bencomo v. Mark Owen Woods, Mile High Logistics, Inc. and First Coast
Logistics, Inc., Cause No. D-608-CV-2018-00172, from the Sixth Judicial District Court of Grant
County, New Mexico, to the United States District Court for the District of New Mexico.
In support of removal, Defendants state the following:

On April 25, 2018, Plaintiff filed his Complaint in Cause No. D-608-CV-2018-00172 in
the Sixth Judicial District Court of Grant County, New Mexico. Defendants Mile High Logistics,
Inc. and First Coast Logistics, Inc. were purportedly served with process on May 1, 2018.
Defendant Mark Owen Woods was served on May 10, 2018.

This Court has original jurisdiction over the matter because there is diversity of citizenship
and the amount in controversy more likely than not exceeds $75,000. 28 U.S.C. § 1332. With

respect to citizenship, Defendants, Mile High Logistics, Inc. and First Coats Logistics, Inc. are
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trucking companies with their principal places of business in the State of Florida. Defendant Mark
Owen Woods is a truck driver, whose domicile is in the State of Tennessee. Plaintiff is a resident
of the State of New Mexico. Accordingly, there is complete diversity between Plaintiff and
Defendants. Jd.

As to the amount in controversy, Plaintiff has alleged the Defendants were reckless in their
acts and omissions causing injuries and damages. In particular, Plaintiff alleges Defendant Mark
Owen Woods, was reckless in changing lanes and colliding with Plaintiff's vehicle. Similar facts
have served as a basis for punitive damages in other jurisdictions. See e.g. J.B. Hunt Transport
Inc. v. Bentley, 207 Ga. App. 250, 427 S.E. 2d 499, (Ga.Ct. App. 1993), (punitive damages
awarded where testimony established driver swerved erratically and failed to slow down in a
construction zone).

With respect to Defendants Mile High Logistics, Inc. and First Coast Logistics, Inc.
Plaintiff alleges both companies were reckless by failing to equip the semi-truck with adequate
mirrors, to allow a safe field of view. Failure to properly service a semi-truck can also be the basis
for punitive damages against a trucking company. See e.g. D’arbonne Construction v. Foster, 80
Ark. App. 87, 91 S.W. 3d 540 (Ar. Ct. App. 2002).

Based on the alleged recklessness, Plaintiff has pled an unspecified amount of punitive
damages, in addition to actual damages, costs, and interest. In New Mexico, reckless conduct is a
basis for punitive damages. See e.g. UJI 13-1827 NMRA. Moreover, there is no statutory limit
on punitive damages, and the amount is left to the discretion of the jury as a measure of punishment
for culpable conduct. See e.g. Vickrey v. Dunivan, 1955-NMSC-006, 59 N.M. 90, 279 P.2d 853.
In the context of economic injury cases, the New Mexico Court of Appeals has noted that the ratio

of punitive damages to harm should generally not exceed ten to one. See e.g. Weidler v. Big J.

 

 
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Enterprises, Inc. 1998-NMCA-021 948, 124 N.M. 591,953 P.2d 1089. In injury cases, like this
one, “the ratio might be much higher.” /d. Here, Plaintiff's alleged actual damages as of August
9, 2017, including medical billing and lost wages, were $9,041.00. Thus, even at a ratio of less
than ten to one, say nine to one, the amount in controversy more likely than not exceeds $75,000
and is, therefore, sufficient for removal purposes. See e.g. Frederick v. Hartford Underwriters
Ins. Co., 683 F.3d 1242, 1247 (10" Cir. 2012).

Defendants dispute Plaintiff has competed service of process in accord with the New
Mexico Rules of Civil Procedure, but, in any event, this notice of removal is timely because it is
filed within thirty (30) days after Defendants were purportedly served with the Complaint. 28
U.S.C. § 1446. Defendants also attach hereto, copies of all process, pleadings, filings, and orders
that have been served on Defendants in this matter. Jd.

WHEREFORE, Defendants provide notice that this action is removed to the United States

District Court for the District of New Mexico.

Respectfully Submitted,

HOLT MYNATT MARTINEZ P.C.

  

     

BRADLEY A. SPRINGE
New Mexico Bar No. 28225
P.O. Box 2699

Las Cruces, NM 88004-2699

(575) 524-8812

Attorneys for Defendants Mark Owen Woods,
Mile High Logistics, Inc., and First Coast
Logistics, Inc.

bas@hmm-law.com

 

 
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CERTIFICATE OF DELIVERY

I hereby certify that on this 31 day of May, 2018, I filed the foregoing electronically
through the Odyssey File and Serve system, and served the following parties or counsel by
electronic means:

Thomas F. Stewart

P.O. Box 3046

Silver City, NM 88062
Attorneys for Sam Bencomo
tomstewart@newmexico.com

 

 

 
